               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                              Plaintiff,

        v.                                     No. 18-03049-01-CR-S-MDH

 JUSTIN WATSON,

                              Defendant.

                                   PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.     The Parties. The parties to this agreement are the United States Attorney’s

Office for the Western District of Missouri (otherwise referred to as “the Government” or “the

United States”), represented by Timothy A. Garrison, United States Attorney, and James J.

Kelleher, Assistant United States Attorney, and the defendant, Justin Watson (“the

defendant”), represented by Brian Risley.

       The defendant understands and agrees that this plea agreement is only between him and

the United States Attorney for the Western District of Missouri, and that it does not bind any

other federal, state or local prosecution authority or any other government agency, unless

otherwise specified in this agreement.

       2.     Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty

to the sole count of the superseding information, charging him with a violation of 18 U.S.C. §

2252(a)(2), that is, receipt and distribution of child pornography. By entering into this plea




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agreement, the defendant admits that he knowingly committed this offense, and is, in fact,

guilty of this offense.

       3.      Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which the defendant is pleading guilty are as follows:

               On or about August 23, 2017, the defendant, Justin Watson, took several

       sexually explicit photographs of a seventeen-year-old juvenile, hereinafter

       referred to “John Doe,” at his residence in Howell County, Missouri. One such

       photograph depicted John Doe laying on his back with a sexual device inserted

       into his anus. The photographs were taken using an iPhone belonging to John

       Doe. The defendant subsequently transferred the sexually explicit photographs

       from John Doe’s iPhone to his own cellular telephone using the iMessage

       application.

               The devices used to transmit and receive the illicit images were

       manufactured outside the State of Missouri. The images themselves were

       transmitted in interstate commerce


       4.      Use of Factual Admissions and Relevant Conduct.                 The defendant

acknowledges, understands and agrees that the admissions contained in paragraph 3 and other

portions of this plea agreement will be used for the purpose of determining his guilt and

advisory sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”),

including the calculation of the defendant’s offense level in accordance with U.S.S.G. §

1B1.3(a)(2). The defendant acknowledges, understands and agrees that the conduct charged

in any dismissed counts of the indictment, as well as all other uncharged, related criminal
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activity, may be considered as “relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in

calculating the offense level for the charge to which he is pleading guilty.

       5.     Statutory Penalties. The defendant understands that, upon his plea of guilty to

the sole count of the superseding information, charging him with receipt and distribution of

child pornography, the minimum penalty the Court may impose is not less than five years’

imprisonment, while the maximum penalty the Court may impose is not more than 20 years’

imprisonment, not less than five years’ supervised release, a $ 250,000 fine, an order of

restitution, and a $100 mandatory special assessment per felony count of conviction, which

must be paid in full at the time of sentencing. The defendant further understands that this

offense is a Class C felony.

       6.     Sentencing Procedures. The defendant acknowledges, understands and agrees

to the following:

              a.      in determining the appropriate sentence, the Court will consult
       and consider the United States Sentencing Guidelines promulgated by the
       United States Sentencing Commission; these Guidelines, however, are advisory
       in nature, and the Court may impose a sentence either less than or greater than
       the defendant’s applicable Guidelines range, unless the sentence imposed is
       “unreasonable”;

              b.     the Court will determine the defendant’s applicable Sentencing
       Guidelines range at the time of sentencing;

              c.     in addition to a sentence of imprisonment, the Court may impose
       a term of supervised release of up to five years;

              d.      if the defendant commits a supervised release violation, the Court
       may revoke supervised release and impose an additional period of imprisonment
       of up to two (2) years without credit for time previously spent on supervised
       release. If the defendant commits any criminal offense under chapter 109(A),
       110, or 117, or section 1201 or 1591, for which imprisonment for a term longer
       than one year can be imposed, the Court shall revoke the term of supervised
       release and require the defendant to serve a term of imprisonment of not less
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       than five years without credit for time previously spent on supervised release.
       In addition to a new term of imprisonment, the Court also may impose a new
       period of supervised release, the length of which cannot exceed life, less the
       term of imprisonment imposed upon revocation of the defendant's first
       supervised release;

              e.     the Court may impose any sentence authorized by law, including
       a sentence that is outside of, or departs from, the applicable Sentencing
       Guidelines range;

              f.     any sentence of imprisonment imposed by the Court will not
       allow for parole;

              g.     the Court is not bound by any recommendation regarding the
       sentence to be imposed or by any calculation or estimation of the Sentencing
       Guidelines range offered by the parties or the United States Probation Office;
       and

              h.      the defendant may not withdraw his guilty plea solely because of
       the nature or length of the sentence imposed by the Court.

       7.     Government’s Agreements. Based upon evidence in its possession at this

time, the United States Attorney’s Office for the Western District of Missouri, as part of this

plea agreement, agrees not to bring any additional charges against the defendant for any federal

criminal offenses related to receipt and distribution for which it has venue and which arose out

of the defendant’s conduct described above. Additionally, the United States Attorney for the

Western District of Missouri agrees to dismiss the original indictment at sentencing. Finally,

the Government agree to recommend to the Court a sentence of no more than 12 years’

imprisonment.

        The defendant understands that this plea agreement does not foreclose any prosecution

for an act of murder or attempted murder, an act or attempted act of physical or sexual violence

against the person of another, or a conspiracy to commit any such acts of violence or any


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criminal activity of which the United States Attorney for the Western District of Missouri has

no knowledge.

       The defendant recognizes that the United States’ agreement to forego prosecution of all

of the criminal offenses with which the defendant might be charged is based solely on the

promises made by the defendant in this agreement. If the defendant breaches this plea

agreement, the United States retains the right to proceed with the original charges and any

other criminal violations established by the evidence. The defendant expressly waives his right

to challenge the initiation of the dismissed or additional charges against him if he breaches this

agreement. The defendant expressly waives his right to assert a statute of limitations defense

if the dismissed or additional charges are initiated against him following a breach of this

agreement. The defendant further understands and agrees that, if the Government elects to file

additional charges against him following his breach of this plea agreement, he will not be

allowed to withdraw his guilty plea.

       8.      Preparation of Presentence Report. The defendant understands the United

States will provide to the Court and the United States Probation Office a government version

of the offense conduct. This may include information concerning the background, character

and conduct of the defendant, including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the count to which he has pleaded guilty. The

United States may respond to comments made or positions taken by the defendant or the

defendant’s counsel, and to correct any misstatements or inaccuracies. The United States

further reserves its right to make any recommendations it deems appropriate regarding the

disposition of this case, subject only to any limitations set forth in this plea agreement. The

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United States and the defendant expressly reserve the right to speak to the Court at the time of

sentencing pursuant to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.

       9.     Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty

and its formal acceptance by the Court. In the event of such withdrawal, the parties will be

restored to their pre-plea agreement positions to the fullest extent possible. However, after the

plea has been formally accepted by the Court, the defendant may withdraw his plea of guilty

only if the Court rejects the plea agreement, or if the defendant can show a fair and just reason

for requesting the withdrawal. The defendant understands that, if the Court accepts his plea of

guilty and this plea agreement but subsequently imposes a sentence that is outside the

defendant’s applicable Sentencing Guidelines range, or imposes a sentence that the defendant

does not expect, like or agree with, he will not be permitted to withdraw his plea of guilty.

       10.    Agreed Guidelines Applications.          With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

              a.     The Sentencing Guidelines do not bind the Court and are advisory
       in nature. The Court may impose a sentence that is either above or below the
       defendant’s applicable Guidelines range, provided the sentence imposed is not
       “unreasonable”;

             b.      There is no agreement between the parties regarding the
       defendant’s applicable Guidelines;

               c.     The defendant has admitted his guilt and clearly accepted
       responsibility for his actions, and has assisted authorities in the investigation or
       prosecution of his own misconduct by timely notifying authorities of his
       intention to enter a plea of guilty, thereby permitting the Government to avoid
       preparing for trial and permitting the Government and the Court to allocate their
       resources efficiently. Therefore, he is entitled to a 3-level reduction pursuant to
       § 3E1.1(b) of the Sentencing Guidelines. The Government, at the time of
       sentencing, will file a written motion with the Court to that effect, unless the
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      defendant: (1) fails to abide by all of the terms and conditions of this plea
      agreement and his pretrial release; or (2) attempts to withdraw his guilty plea,
      violates the law, or otherwise engages in conduct inconsistent with his
      acceptance of responsibility;

             d.     There is no agreement between the parties regarding the
      defendant’s criminal history category. The parties agree that the Court will
      determine his applicable criminal history category after receipt of the
      presentence investigation report prepared by the United States Probation Office;

             e.     The defendant understands that the estimate of the parties with
      respect to the Guidelines computation set forth in the subsections of this
      paragraph does not bind the Court or the United States Probation Office with
      respect to the appropriate Guidelines levels. Additionally, the failure of the
      Court to accept these stipulations will not, as outlined in paragraph 9 of this plea
      agreement, provide the defendant with a basis to withdraw his plea of guilty;

              f.     The United States agrees not to seek a sentence of imprisonment
      of more than 12 years, and the defendant agrees to not seek a sentence of less
      than six years’ imprisonment. The agreement by the parties is not binding upon
      the Court or the United States Probation Office, and the Court may impose any
      sentence authorized by law, including any sentence outside the applicable
      Guidelines range that is not “unreasonable”;

              g.     The defendant consents to judicial fact-finding by a
      preponderance of the evidence for all issues pertaining to the determination of
      the defendant’s sentence, including the determination of any mandatory
      minimum sentence (including the facts that support any specific offense
      characteristic or other enhancement or adjustment), and any legally authorized
      increase above the normal statutory maximum. The defendant waives any right
      to a jury determination beyond a reasonable doubt of all facts used to determine
      and enhance the sentence imposed, and waives any right to have those facts
      alleged in the information. The defendant also agrees that the Court, in finding
      the facts relevant to the imposition of sentence, may consider any reliable
      information, including hearsay; and

             h.     The defendant understands and agrees that the factual admissions
      contained in paragraph 3 of this plea agreement, and any admissions that he will
      make during his plea colloquy, support the imposition of the agreed upon
      Guidelines calculations contained in this agreement.

      11.    Effect of Non-Agreement on Guidelines Applications.                    The parties

understand, acknowledge and agree that there are no agreements between the parties with
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respect to any Sentencing Guidelines issues other than those specifically listed in paragraph

10 and its subsections. As to any other Guidelines issues, the parties are free to advocate their

respective positions at the sentencing hearing.

       12.     Change in Guidelines Prior to Sentencing. The defendant agrees that, if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then

any request by the defendant to be sentenced pursuant to the new Guidelines will make this

plea agreement voidable by the United States at its option. If the Government exercises its

option to void the plea agreement, the United States may charge, reinstate, or otherwise pursue

any and all criminal charges that could have been brought but for this plea agreement.

       13.     Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

               a.     oppose or take issue with any position advanced by the defendant
       at the sentencing hearing which might be inconsistent with the provisions of this
       plea agreement;

              b.     comment on the evidence supporting the charge in the
       superseding information;

              c.     oppose any arguments and requests for relief the defendant might
       advance on an appeal from the sentence imposed, and that the United States
       remains free on appeal or collateral proceedings to defend the legality and
       propriety of the sentence actually imposed, even if the Court chooses not to
       follow any recommendation made by the United States; and

               d.       oppose any post-conviction motions for reduction of sentence, or
       other relief.

       14.     Waiver of Constitutional Rights.          The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives

the following rights:

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               a.      the right to plead not guilty and to persist in a plea of not guilty;

               b.    the right to be presumed innocent until his guilt has been
       established beyond a reasonable doubt at trial;

               c.     the right to a jury trial, and at that trial, the right to the effective
       assistance of counsel;

              d.    the right to confront and cross-examine the witnesses who testify
       against him;

               e.      the right to compel or subpoena witnesses to appear on his behalf;
       and

              f.     the right to remain silent at trial, in which case his silence may
       not be used against him.

       The defendant understands that, by pleading guilty, he waives or gives up those rights

and that there will be no trial. The defendant further understands that, if he pleads guilty, the

Court may ask him questions about the offense to which he pleaded guilty, and if the defendant

answers those questions under oath and in the presence of counsel, his answers may later be

used against him in a prosecution for perjury or making a false statement. The defendant also

understands that he has pleaded guilty to a felony offense and, as a result, will lose his right to

possess a firearm or ammunition and might be deprived of other rights, such as the right to

vote or register to vote, hold public office, or serve on a jury.

      15.      Waiver of Appellate and Post-Conviction Rights.

               a.     The defendant acknowledges, understands and agrees that, by
       pleading guilty pursuant to this plea agreement, he waives his right to appeal or
       collaterally attack a finding of guilt following the acceptance of this plea
       agreement, except on grounds of (1) ineffective assistance of counsel; or (2)
       prosecutorial misconduct; and

               b.     The defendant expressly waives his right to appeal his sentence,
       directly or collaterally, on any ground except claims of: (1) ineffective
       assistance of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence.
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       An “illegal sentence” includes a sentence imposed in excess of the statutory
       maximum, but does not include less serious sentencing errors, such as a
       misapplication of the Sentencing Guidelines, an abuse of discretion, or the
       imposition of an unreasonable sentence. However, if the United States exercises
       its right to appeal the sentence imposed as authorized by 18 U.S.C. § 3742(b),
       the defendant is released from this waiver and may, as part of the Government’s
       appeal, cross-appeal his sentence as authorized by 18 U.S.C. § 3742(a) with
       respect to any issues that have not been stipulated to or agreed upon in this
       agreement.


       16.    Financial Obligations. By entering into this plea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

               a.     The Court may order restitution to the victims of the offense to
       which the defendant is pleading guilty. The defendant agrees that the Court may
       order restitution in connection with the conduct charged in any counts of the
       indictment which are to be dismissed and all other uncharged, related criminal
       activity;

               b.     The United States may use the Federal Debt Collection
       Procedures Act and any other remedies provided by law to enforce any
       restitution order that may be entered as part of the sentence in this case and to
       collect any fine;

              c.      The defendant will fully and truthfully disclose all assets and
       property in which he has any interest, or over which the defendant exercises
       control, directly or indirectly, including assets and property held by a spouse,
       nominee or other third party. The defendant’s disclosure obligations are
       ongoing, and are in force from the execution of this agreement until the
       defendant has satisfied the restitution order in full;

              d.      Within ten (10) days of the execution of this plea agreement, at
       the request of the USAO, the defendant agrees to execute and submit: (1) a Tax
       Information Authorization form; (2) an Authorization to Release Information;
       (3) a completed financial disclosure statement; and (4) copies of financial
       information that the defendant submits to the U.S. Probation Office. The
       defendant understands that compliance with these requests will be taken into
       account when the United States makes a recommendation to the Court regarding
       the defendant's acceptance of responsibility;



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              e.       At the request of the USAO, the defendant agrees to undergo any
       polygraph examination the United States might choose to administer concerning
       the identification and recovery of substitute assets and restitution;

               f.      The defendant hereby authorizes the USAO to obtain a credit
       report pertaining to him to assist the USAO in evaluating the defendant’s ability
       to satisfy any financial obligations imposed as part of the sentence;

               g.      The defendant understands that a Special Assessment will be
       imposed as part of the sentence in this case. The defendant promises to pay the
       Special Assessment of $100 by submitting a satisfactory form of payment to the
       Clerk of the Court prior to appearing for the sentencing proceeding in this case.
       The defendant agrees to provide the Clerk’s receipt as evidence of his
       fulfillment of this obligation at the time of sentencing;

              h.     The defendant certifies that he has made no transfer of assets or
       property for the purpose of: (1) evading financial obligations created by this
       Agreement; (2) evading obligations that may be imposed by the Court; or (3)
       hindering efforts of the USAO to enforce such financial obligations. Moreover,
       the defendant promises that he will make no such transfers in the future; and

               i.      In the event the United States learns of any misrepresentation in
       the financial disclosure statement, or of any asset in which the defendant had an
       interest at the time of this plea agreement that is not disclosed in the financial
       disclosure statement, and in the event such misrepresentation or nondisclosure
       changes the estimated net worth of the defendant by ten thousand dollars
       ($10,000.00) or more, the United States may at its option: (1) choose to be
       relieved of its obligations under this plea agreement; or (2) let the plea
       agreement stand, collect the full forfeiture, restitution and fines imposed by any
       criminal or civil judgment, and also collect 100% (one hundred percent) of the
       value of any previously undisclosed assets. The defendant agrees not to contest
       any collection of such assets. In the event the United States opts to be relieved
       of its obligations under this plea agreement, the defendant’s previously entered
       plea of guilty shall remain in effect and cannot be withdrawn.

       17.    Waiver of FOIA Request. The defendant waives all of his rights, whether

asserted directly or by a representative, to request or receive from any department or agency

of the United States any records pertaining to the investigation or prosecution of this case

including, without limitation, any records that may be sought under the Freedom of

Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.
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       18.    Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation

expenses arising out of the investigation or prosecution of this matter.

       19.    Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the

signing of this plea agreement and the date of sentencing, or fails to appear for sentencing, or

if the defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United

States will be released from its obligations under this agreement. The defendant, however,

will remain bound by the terms of the agreement, and will not be allowed to withdraw his plea

of guilty.

       The defendant also understands and agrees that, in the event he violates this plea

agreement, all statements made by him to law enforcement agents subsequent to the execution

of this plea agreement, any testimony given by him before a grand jury or any tribunal, or any

leads from such statements or testimony, shall be admissible against him in any and all criminal

proceedings. The defendant waives any rights that he might assert under the United States

Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of

the Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of

any statements made by him subsequent to this plea agreement.

       20.    Defendant’s Representations.         The defendant acknowledges that he has

entered into this plea agreement freely and voluntarily after receiving the effective assistance,

advice and approval of counsel. The defendant acknowledges that he is satisfied with the

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assistance of counsel, and that counsel has fully advised him of his rights and obligations in

connection with this plea agreement. The defendant further acknowledges that no threats or

promises, other than the promises contained in this plea agreement, have been made by the

United States, the Court, his attorneys, or any other party to induce him to enter his plea of

guilty.

          21.    Sex Offender Registration. The defendant acknowledges that he has been

advised, and understands that, by pleading guilty to the instant offense, he will be required

under the Sex Offender Registration and Notification Act (SORNA), a federal law, to register

as a sex offender and keep the registration current in each of the following jurisdictions: where

he resides; where he is employed; and where he is a student.                The defendant also

acknowledges that he understands that the requirements for registration include providing his

name, his residential address, the names and addresses of any places where he is, or will be,

an employee or student, or any other relevant information.              The defendant further

acknowledges that he understands that the requirement to keep the registration current

includes registering in the jurisdiction in which he resides, is an employee, or is a student, and

must be done within 72 hours of any such change in status. The defendant also agrees that he

will provide his Probation Officer proof of registration within 72 hours of release from

imprisonment, and abide by all state and federal sex offender registration laws, as well as

abiding by all of his Probation Officer’s directives.

          The defendant acknowledges that he has been advised, and understands, that failure to

comply with these obligations could subject him to either state or federal prosecution for



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failure to register, pursuant to Title 18 U.S.C. § 2250, which is punishable by a fine or

imprisonment, or both.

       22.    No Undisclosed Terms. The United States and the defendant acknowledge and

agree that the above stated terms and conditions, together with any written supplemental

agreement that might be presented to the Court in camera, constitute the entire plea agreement

between the parties, and that any other terms and conditions not expressly set forth in this

agreement or any written supplemental agreement do not constitute any part of the parties’

agreement and will not be enforceable against either party.

       23.    Standard of Interpretation. The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be

interpreted according to general contract principles and the words employed are to be given

their normal and ordinary meanings. The parties further agree that, in interpreting this

agreement, any drafting errors or ambiguities are not to be automatically construed against

either party, whether or not that party was involved in drafting or modifying this agreement.




                                           Timothy A. Garrison
                                           United States Attorney

                                    By:

Dated: May 29, 2018                        /s/ James J. Kelleher
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                                          James J. Kelleher
                                          Assistant United States Attorney
                                          Missouri Bar No. 51921




I have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the superseding information. Further, I have consulted with my attorney
and fully understand my rights with respect to the provisions of the Sentencing Guidelines. I
have read this plea agreement and carefully reviewed every part of it with my attorney. I
understand this plea agreement and I voluntarily agree to it.


Dated: May 29, 2018                       /s/ Justin Watson
                                          Justin Watson
                                          Defendant

       I am defendant Justin Watson’s attorney. I have fully explained to him his rights with
respect to the offense charged in the superseding information. Further, I have reviewed with
him the provisions of the Sentencing Guidelines which might apply in this case. I have
carefully reviewed every part of this plea agreement with him. To my knowledge, Justin
Watson’s decision to enter into this plea agreement is an informed and voluntary one.


Dated: May 29, 2018                       /s/ Brian Risley
                                          Brian Risley
                                          Attorney for Defendant




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